                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE

    ACT, INC.,                                      )
                                                    )        Case No. 3:18-cv-186
            Plaintiff & Counter-Defendant,          )
                                                    )        Judge Travis R. McDonough
    v.                                              )
                                                    )        Magistrate Judge H. Bruce Guyton
    WORLDWIDE INTERACTIVE                           )
    NETWORK and TERESA CHASTEEN,                    )
                                                    )
            Defendants & Counter-Claimant.          )


                                                 ORDER


          Trial of this matter began on August 22, 2022. On August 24, 2022, Plaintiff ACT, Inc.,

   rested its case, and Defendants Worldwide Interactive Network and Teresa Chasteen moved for

   partial judgment as a matter of law under Federal Rule of Civil Procedure 50. The Court

   hereby ORDERS Defendants to file a memorandum in support of their Rule 50 motion by 5:00

   p.m. Eastern Time on August 29, 2022. The Court ORDERS Plaintiff to file its response to

   Defendants’ motion by 5:00 p.m. Eastern Time on August 31, 2022. The

   memoranda SHALL be no longer than twenty pages each and SHALL identify evidence and

   testimony elicited during trial that supports each’s party’s position.

          SO ORDERED.

                                                 /s/ Travis R. McDonough
                                                 TRAVIS R. MCDONOUGH
                                                 UNITED STATES DISTRICT JUDGE




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